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                                            CLERK’S MINUTE SHEET
                                   IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                            Before the Honorable Laura Fashing
                                               Preliminary/Detention Hearing
Case Number:                MJ 21-784 LF                          UNITED STATES vs. NORTON
Hearing Date:               6/10/2021                             Time In and Out:          10:17-10:54
Courtroom Deputy:           N. Maestas                            Courtroom:                Hondo - Remote
Defendant:                  Asiel Christian Norton                Defendant’s Counsel:      Angelia M. Hall
                            Stephen A. White and Paul
AUSA:                                                             Pretrial/Probation:       Sandra Day
                            Mysliwiec
Interpreter:                N/A                                   Witness:
Initial Appearance
☐     Defendant received a copy of charging document
☐     Court advises defendant(s) of possible penalties and all constitutional rights
☐     Defendant
☐     Government moves to detain                                  ☐ Government does not recommend detention
☐     Set for                                                     on                               @
Preliminary/Show Cause/Identity
☒     Defendant waives Preliminary Hearing
☒     Court finds probable cause                                  ☐    Court does not find probable cause
Detention
☐     Defendant waives Detention Hearing
      Defense counsel requests release to Hoffman Hall instead of LPHH; Government requests detention; Defense counsel
☒     responds; USPTS states Hoffman Hall is a sober living facility; Government responds; Court and counsel continue
      discussion regarding release
Custody Status
☐     Defendant
                                                                  Defendant released to Hoffman Hall on Friday, June 11,
☒     Conditions of release imposed
                                                                  2021; Defense counsel to coordinate transportation
Other
☒     Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
      Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
☒
      evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
☐     Matter referred to    for Final Revocation Hearing
☐
